         Case MDL No. 3089 Document 65-1 Filed 10/04/23 Page 1 of 2




IN RE:    ORAL PHENYLEPHRINE MARKETING AND                MDL Docket No. 3089

SALES PRACTICES LITIGATION


                              SCHEDULE OF ACTIONS

         Plaintiffs     Defendants         Court    Civil Action      Judge
                                                         No.
1.   Rebecca          The Procter &   S.D. Ohio     23-cv-00623-   Judge
     Lynn Reyes       Gamble                        DRC            Douglas R.
                      Company and                                  Cole
                      Walmart Inc.
          Case MDL No. 3089 Document 65-1 Filed 10/04/23 Page 2 of 2




Dated: October 4, 2023              KELLER ROHRBACK L.L.P.

                                    /s/ Cari Campen Laufenberg
                                    Cari Campen Laufenberg
                                    Derek Loeser
                                    KELLER ROHRBACK L.L.P.
                                    1201 Third Avenue, Suite 3200
                                    Seattle, WA 98101
                                    Tel: (206) 623-1900
                                    Fax: (206) 623-3384
                                    claufenberg@kellerrohrback.com
                                    dloeser@kellerrohrback.com


                                    Counsel for Plaintiff Rebecca Lynn Reyes
                                    4889-4842-3043, v. 2
